                                                                                    ~I LED
                                                                                 APR O7 2020
                                                                             PETER A. MOOR E, JR., CLERK
                  IN THE UNITED STATES DISTRICT COURT                         UJ Di!;"!"R fCT COURT, EDNC
              FOR THE EASTER DISTRICT OF NORTH C ROLINA                     BY       :,t \.         DEP CLK

                           WESTERN DIVISION

IN RE APPLICATION OF THE                       )
UNITE D STATES OF AMERICA FOR                  )
AN ORDER AUTHORIZING THE                       )
I ISTALLATION AND SE OF PE                     )   MISC.    0.   5; ).o""~ /377~ ~;J
REGISTERS AND TRAP AND TRACE                   )
DEVICES FOR THE CELLULAR                       )
TELEPHONE ASSIGNED CALL                        )
NUMBER (910) 384-900                           )    Fi led Under Seal



                                   APPLTCATIO

       The Unite d S tate of Am erica . moving by and through Barbara D. Kocher. it

undersigned co un e l, re p ctfully ubmi L under s al thi ex parte a pplication for an

order pur. uant to 18 U.S.C §§ 3122 and 3123, au horizing the in tallation and use

of pen regi t ers and trap and trace devices ("'pen-trap devices') to record, decode ,

and/or capture dialing, routing, addre ~in g, and     ignaling information a sociated

with each communication to or from the cell phone number described in Attachm nt

A. In support of thi. applicatio n, the United States asserts:

       1.     This i an application, made under 18 U.S . . § 3122(a)(l), for an order

under 18 L .S. . § 3123 authorizing t he in tallation and use of a pen regi te r and a

trap a nd trace clevic .

       2.     Such an app lication mu t include t hree elements: (1) "the identity of

the 11ttorney for t h e Government or the State law e nforc rnent or investigative

offic er making the application;' (2) "the identity of the law enforcement agency

conducting the investigation-" and (3) "a c rtification by the applicant that the




      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 1 of 11
information likely to be obtained is relevant to an ongoing criminal investigation

being conducted by that age ncy." 18 U .S .C. § 3122(b).

       3.     The undersigned ap plicant is an "attorn ey for the government" as

defined in Rule l(b)(l) of the Federal Rules of riminal Pr c dure.

              The law enforcement agency conducting the investigation is the      aval

Criminal Investigative Service.

       fi.    The applicant hereby certifie      that th e information likely to b

obtained by the requested pen-trap devices is relevant to an ongoing criminal

mve tigation being conducted by the     aval Criminal Inve tigative S rvice.

       G.     This Court is a ·'court of competent juri diction" under 18 U.S.C.

§ 3122(a)(2) because it "has juri diction over Lhe offense being in vcr.;tigated." 18

  .S.C. § 3127(2)(A)(i).

                           ADDITIONAL I FORMATION

       7.     Other than the thr     element de cribed abov     federal law doe    not

require that an application for an order a uthorizing the installation a nd use of a

pen register and a trap and trac device pecify any facts. The following a dditional

information is provided to d -monstrate that the order reque ted fall ' within tbi.

Court's authority to authorize the installation and use of a pen regi. t 'Tor trap and

trace device under 18 U.S.C. § 3123(a)(l).

       8.     A ' pen register" is "a device or process which records or decodes

dialing, routing, addre ~ ing, or ignaling information tran mitted by an in trument

or facility from whi ch a wire or lectronic communication i ' transmitted. ' 18   .S.C.



                                             2



       Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 2 of 11
§ 3127(3). A "trap and trace device" is "a device or process which captures tho

incoming electronic or other impulses whi h ide ntify the originating numb r or

ot h r dialing, routing, a dd.rcRsing, and sign aling information reasona bly likely to

iden tify the source of a wire or electronic communi ation ." 18 U.S .C. § 3127(4) .

       9.    In th e traditional telephone context, pen r egi ter          captured the

destination phone number s of outgoing calls , while trap and trace device captured

the phon e number. of incoming ca lls.      Similar principle ' apply to other kind of

wire and electronic communication s, a s described below .

       10.   The Internet i     a global network of comput r s a nd othe r devices.

Devices directly connect ed to the Interne t arc ide ntified by a unique number called

a n Intern e t Protocol, or "IP' a ddrc s . Thi number i     u :1 d to route inform ation

betwe n d vice . Ge nenilly, when one device r eque t s information from a second

de vice . th e requesting device sp ecifies its own IP address . o that the r sponcling

device knows where to se nd i t. response. An IP a ddre:;. is a nalo gou. to a telephon e

num ber a nd ca n be recorded by pen-trap devi ce , a nd it indicates the online identit

of th communicating device without r evealin g t h communication's conten t .

      11 .   A network i two or more computer or ot h er device connect d to each

othe r th a t can excha nge information with eac h oth er via ome tran mi ion m e thod

, uch as by wire , ca bles, or r a dio waves. The equipm nt tha t connect;· a computer

or other clcvic to the n etwork i commonly r ferrcd t o as a n etwork a dapter.        fost

n etwork a dap ters h a ve a Media Acce s   Con trol ("NLL\ ") a cldrcs a signed by the

ma nufact urer of the adapter that i R de signed to be a unique identifying number. An



                                            3


      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 3 of 11
adapter's umqu MA            address allows for proper routing of communicatio n~ on a

loca l area network and may be use d for other purpos s, such a s authentication of

cu.-tomers by so me network servic providers.                 Unlike a devices IP address that

often cha nges each time a device connect to the Internet, a 1 C addxes. is fix ed at

the time of m a nufact ure of the adapter. Because the addre.             does not cha n ge and is

inte nded to be unique, a MAC addre                s   ca n allow law enforcement to identify

whe ther com municatio n sent or received at different time s are as ociated wit h t he

same adapter.

       12.       On the In terne t, data tran ·ferred betwe n devices is noi, se nt as a

co ntinuou,      tr ea m, but rathe r it i, split into di. crete packet . Generally, a single

communication i~ sent as a seri                 of packet..     Wh n t he packets reach their

de tin a tion,    th    rece1vm g      device     reassembles      them    into   the   comple e

communication.         Each packet ha      two parts: a header with rou ting a nd control

information, and a payload, which generally contain~ u er data.                      The hea der

contains non-content information s uch a: the packet , source and destination IP

addre ~se · a nd the packet's . ize.

       13.       In addition , different Internet application.             am associated wi th

different "port number. ," or numeric ide ntifier s. The port number is transmitted

along with any communication u sing that application.                     For example, port 80

typicall is as, ociated with communication involving the ,, orld v1i id e Web.

       14.       A ccllulru· telephone, or eel] phon . is a mobile device that tran mits

a nd receive w1re and elect,ronic communi cation . Individu als u ing cell phones



                                                   4



      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 4 of 11
contract with cellul ar service providers, who maintain antenn a towers cove nng

 pecific geographic areas.   In order to transmit or receive calls and data a cell

phone must send a radio signaJ to an antenna towe r that in turn, i. co nnected to a

cellular ervice provider's n etwork.

      15.     In addition to a unique telephone number        ach cell phone has one or

more unique identifi ers embedded inside it. Depending upon the cellular network

and the d vice, th e mbedded unique identifi er for a cell phone could take severa l

different forms, including an Electronic Serial Number ("ESN'') , a Mobile Electronic

Identity    umber ("MEI '), a Nlobile Identification Number ("MIN '), a Subscriber

Identity Module (' SIM"), a n International Mobile Subscriber Iden tifier ("IrvISI") a

Mobile Subscrib r Integrated Services Digital Tetwork     1   umber ( MRISDN''), or a n

International Mobil    Station Equipment Identity ('TIVIEI").      \Vhen a cell phone

connect to a cellular antenna or tower, it reveals its ernb dded unique identifiers to

the ce llula r antenna or tower. and the cellular antenna or tower r ecords tho ~e

identifiers as a matter of course. The unique identifier ' -as tran mitted from a cell

phone to a cell uJ ar a n tenna or tower-are like the telephon e number of a n incoming

call. They can be r ecorded by pen-trap device· and indicate the identity of the cell

phon , device mRking the comm unication without revealing the communication'

content.

      16.    In addition, a li. t of incoming and outgoing- telephone numbers is

generated when a cell phone is u ed to mak e or receive calls, or to e ncl or receive

text me sages (whi ch may includ e photograph , video \ and other data).         Th e




     Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 5 of 11
telephone number s can be .recorded by pen-trap dev.ice and then use d to id entify

the parties to a communication without revealing the communication' contents.

       17.   . ce U phone can al ' O be used to exchange text me        age . with email

acco unts. Th e email addres e as ociated with those text messages c n be recorded

by pen-trap devices and then use d to identify parties to a communication without

revealing the communication's contents.

       18.     ellular phones can con nect to the Intern et via the el lul ar network.

When connecting through the cellular network , Internet communication            ent and

received by the cellular phone each contain the           ame unique identifier that

identifie · cellular voice communic tions, such a an ESN, MEIN, 11.          SIM, IMSI ,

MSIS D , or I.MEI. Internet communication fr om a ce llular phone a l o contain the

IP addre. ·s a,. ociated with that cellular phone at th e ti me of the com munication .

Each of these unique identifiers can be used to identify parties to a communication

without re vea lin g the communications contents.

                              THE RELEVANT FA ,TS

       19.   Th    United State       government.    including t he      ava l Criminal

Investigative Service. is inve stiga ting the theft of a hi gh quantity, high value items

from variou s military in tall a Lion. , to include th   Marine Co17)    , ir Station at

 herry Point. North Carolina.      Th e investigation concerns possible violations by

known and unknown individu a l. of, inter alia, Title 18, United States Code, Section

641.




                                           6



       Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 6 of 11
       20.       The conduct being investigated in volves use of th e cell phone number

de cribcd in       ttachrnent A in committin g the above -li ted offen e. To ful'tbcr th e

inves6gation , investigators nee d to ob tai n the dialin g, routing, addressin g. a nd

signaling information as. ociated with communications                nt to or from t h at cell

phone number .

       21.       The pen -trap d vices sough t b    r   thi~ application will record. decode ,

and/or capt ure dialin g, r out ing, addressing, and signaling in.for mation associRte d

with each communication to or fro m the ce ll phone n umber described in Attachment

A. including the date time, a nd duration of the communication, a nd the fo ll owing.

without geographic limit:

             •   IP addresse associated with the cell phone device or devices used to

                 , end or receive electronic co mmunications

             •   A.ny unique identifier associated with the cell phone de ice or device

                 use d to make a nd receive calls with cell phone number describ d in

                 . ttachment A, or to send or receive other el t ronic comm unications

                 in luding the ES . IEI , IMSI. l MEI SIM MSISDN, or MIN

             •   IP a ddresses of any websites or other server to which the cell phone

                 device or devices co nnected

             •   Source and de. tination telephone numbers a nd em ail addresses

                               GOVERNMENT REQUESTS

      22.        For the rea ·on H s lated above, t h e United SLaLes reque t        that the

Court ent r a n Order a ut hori zing th e in s tallation a nd u. e of pen -trap device to



                                                7



      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 7 of 11
record, decode, and/or capture the dialing, routing, a ddressing, and signaling

information described abov         for each communication to or from the cell phone

number desc ribed in      ltachm e nt A, to include t he date, tim e, and duration uf the

communication, without geographic limit. The United Sta t , does not reque. t and

does not see k to obtain the contents of any communication s, as defined in 18 U.S.C.

§ 2510 (8 .

       23.      The United     t.ates further rcque t s that the Court authorize the

foregoing installation and u e for a period of ixty days from the date of the Court's

Order. pm· uant to 18      .S.C. § 3123(c)(l ).

       24.      The United Slates furth er r que ts, pur uant to 18 U .S.C. §§

3123(b)(2) and 3124(a)-(b) , t hat the Couit order AT & T and any other pet. on or

entity providing wire or electronic communica tion service in the United State

whose a i ta nce may facilitat execution of this Order to furni ~h , upon ervice of

t he Order, information, facilitie s, and technical assistance nece ssary to install the

pen -trap devi ce. , inclucuo g insta Uation a nd operation of th e pen-trap devices

unobtru iv "ly and with minimum di Tuption of normal ervi            ny enti y providjng

s uch a i. tance shall be reasonably compensated by the                  aval    riminal

Investiga tive Service, pm· uan t t o 18 U.S . . § 3124(c), for r ea onable exp nse

incurred in providing facilitic and as istan cc in furth erance of thi Order .

       25.      The United States further reque t that the      ourt order AT & T and

a ny othe r person or entity who e assistance ma facilitate ex •cution of thi Ord r to

notify th     npplicant and t he   aval Criminal Investigative 'e rvice of any changes



                                              8



      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 8 of 11
relating tu the cell phone number described in Attac hment A, and to provide prior

notice to the applica nt a nd the           aval Criminal Inve tigaLive Service before

terminating or ch a n gin g ervice to the cell phon e number.

       26.       The U nite d States furth er reque t         that the Court order th at the

  aval Criminal Inve tigative Service and t he applican t h ave acce s to the

information collected by the pen -tra p devices ::is , oon as practicable, t wenty-four

h ours p e r day, or at ucb other time a may be ace ptable to them fol' th e duration

of the Orel r.

       27.       The United States furth er r equests, pursuant to 18 U.S.C. § 3123(d)(2),

t hat the    ourt ord r AT & T a nd an} other pero n or en tity who e a               i ta nce

facilitate execu t ion of this Order, and t h eir agents and employees, not to disclose in

any m a nner , directly or indirectly, by any action or inaction. the existe nce of this

application a nd Order. th e r es ulting pen-trap device", or thi. investigation, for a

period of on e yea r from the da te of this Order, except that AT & T may disclose t his

Order to a n attorney for     T & T for Lh e purp ose of re ceivin g legal a dvice.

       28.       The United States furth er r equests t hat the Clerk of th e Cour t provide

t he Unite d States Attorney's Office with filed copie of this application and Order,

for distribution a s n ece. s ary to e ffectuate the Ord r.

       29.       The foregoing is ba ed on information provided to m e in my official

capacity by agent s of the Naval Criminal Investigative Service.




                                               9



      Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 9 of 11
 I declare under penalty of perjury that the foregoing is true and correct.

                      -
 Ex cu ted on-fh.J' ay of April , 2020 .




                                   ROBERT J . HIGDON , JR.
                                   United States Attorney

                                           A             IJ t-c t I       ~             1/
                                           ~   t,_ . _                l   '_,,, _   /   le: L- L
                                   BY: B RBARA D. KOCHER
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                                      10



Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 10 of 11
                               ATTACHME TA

The information rela ed to th e cellula r telephone at is ue i stored at premi es
con troUed by T & T, headquartered at 11760 U. S. Highway 1, North Palm Beach,
Flor id a 33408.

            Ce llular Telephone assigned call number: (91 0) 384-9008




                                       11



     Case 5:20-mj-01377-RN Document 1 Filed 04/07/20 Page 11 of 11
